                         EXHIBIT A




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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

 Stacie Ray, et al.,

        Plaintiffs,                                    Case No. 2:18-cv-272

       v.                                             Judge Michael H. Watson

 Stephanie McCloud, Director,                         Magistrate Judge Vascura
 Ohio Department Health, et al.,

       Defendants.

                               OPINION AND ORDER

       Ohio is one of only two states that does not allow a transgender person to

 change the sex marker on their birth certificate. Stacie Ray ("Ray"), Basil

 Argento ("Argento"), Jane Doe ("Doe"), and Ashley Breda ("Breda," collectively

 "Plaintiffs") sue Stephanie McCloud 1 ("McCloud"), in her capacity as Director of

 the Ohio Department of Health ("OOH"), Karen Sorrell ("SorreW'), in her capacity

 as Chief of the Ohio Office of Vital Statistics, and Judith Nagy ("Nagy"), in her

 capacity as State Registrar of the Ohio Office of Vital Statistics (collectively

 "Defendants") and ask this Court to find such a prohibition unconstitutional. ECF

 No. 1. Plaintiffs and Defendants have both moved for summary judgment. ECF

 Nos. 69, 71. 2 For the following reasons, the Court GRANTS Plaintiffs' motion for

 summary judgment and DENIES Defendants' motion for summary judgment.


 1Defendants substitute McCloud pursuant to Federal Rule of Civil Procedure 25(d).
 2Defendants have filed a sealed version of their motion for summary judgment and a
 publicly available redacted version. ECF Nos. 70, 71. The Court has reviewed both



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                                      I. BACKGROUND 3

          Plaintiffs are four transgender individuals born in Ohio who have been

 denied the ability to change the sex marker on their birth certificates to reflect

 their gender identities.

          The Ohio Revised Code permits a person to correct a birth record that,

 among other things, "has not been properly or accurately recorded." Ohio Rev.

 Code § 3705.15. No portion of the Ohio Revised Code prohibits using § 3705.15

 to change the sex marker on a birth certificate. Other portions of Ohio's statutory

 scheme governing vital statistics permits changes to a birth certificate to reflect

 adoptions and legal name changes. See Ohio Rev. Code §§ 3705.12, 3705.13.

          Indeed, prior to 2016, Defendants permitted transgender individuals born

 in Ohio to change the sex marker on their birth certificates, if the transgender

 individuals obtained a court order, paid a processing fee, and completed an

 OOH-provided form. See Nagy Dep. 138-39, 150-152, ECF No. 55. At least ten

 transgender people born in Ohio successfully obtained sex-corrected birth

 certificates prior to 2016. Id. at 138-39.

          Sometime in 2015, after consultation with OOH in-house counsel and the

 Ohio Governor's office, OOH "re-reviewed" its birth certificate policy (''Policy")4


 filings but will cite only to information contained in the public version located at ECF No.
 71.
 3 The Court will discuss the parties' evidence in greater detail in its analysis.
 4 Defendants do not characterize it as a Policy; rather, they frame the issue as an
 interpretation of the Ohio statute. See Defs.' Resp. in Opp. 4, ECF No. 73. The Court
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 and decided to no longer permit changes to the sex marker on Ohio birth

 certificates when the basis for that change was that the person was transgender.

 Id. at 129-34. Ohio continues to permit other changes to birth certificates (such

 as for adoption and legal name) as well as alterations to the sex field if the basis

 for the request is a mistake or where the physician observed atypical genitalia

 and records the sex as "U" for "undetermined" at birth. Id. at 65-66, 73-74; see

 also Ohio Rev. Code§§ 3705.12, 3705.13.

        Plaintiffs challenge Defendants' Policy and contend that it violates their

 substantive due process rights to informational privacy under the Fourteenth

 Amendment, discriminates against them in violation of the equal protection

 clause of the Fourteenth Amendment, and compels their speech in violation of

 the First Amendment. Campi., ECF No. 1. Defendants contend that there are no

 constitutional violations or that the state's justifications outweigh any violations.

 Defendants' justifications for prohibiting sex marker changes on the basis of

 being transgender are to maintain the historical accuracy of their birth records

 and prevent fraud.

        The Court previously issued an Opinion and Order addressing Plaintiffs'

 substantive due process rights and denying Defendants' motion to dismiss. Op.

 and Order, ECF No. 47



 recognizes the distinction Defendants make but will nonetheless refer to it as a Policy
 rather than their interpretation of Ohio's statutory framework for ease of reference.
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                           II.    STANDARD OF REVIEW

        Summary judgment is appropriate "if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as

 a matter of law." FED. R. CIV. P. 56(a). The movant has the burden of

 establishing that there are no genuine issues of material fact, which may be

 accomplished by demonstrating that the nonmoving party lacks evidence to

 support an essential element of its case. Celotex Corp. v. Catrett, 477 U.S. 317,

 322-23 (1986); Barnhart v. Pickrel, Schaeffer & Ebeling Co., 12 F.3d 1382,

 1388-89 (6th Cir. 1993). To avoid summary judgment, the nonmovant "must do

 more than simply show that there is some metaphysical doubt as to the material

 facts." Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586

 (1986); accord Moore v. Philip Morris Cos., 8 F.3d 335, 340 (6th Cir. 1993).

 "[S]ummary judgment will not lie if the dispute about a material fact is 'genuine,'

 that is, if the evidence is such that a reasonable jury could return a verdict for the

 nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       In evaluating   a motion for summary judgment, the evidence must be
 viewed in the light most favorable to the nonmoving party. Adickes v. S.H. Kress

 & Co., 398 U.S. 144, 158-59 (1970); see Reeves v. Sanderson Plumbing Prods.,

 Inc., 530 U.S. 133, 150 (2000) (stating that the court must draw all reasonable

 inferences in favor of the nonmoving party and must refrain from making

 credibility determinations or weighing evidence). Furthermore, the existence of a

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 mere scintilla of evidence in support of the nonmoving party's position will not be

 sufficient; there must be evidence on which the jury reasonably could find for the

 nonmoving party. Anderson, 477 U.S. at 251; see Copeland v. Machu/is, 57 F.3d

 476, 479 (6th Cir. 1995); see a/so Matsushita, 475 U.S. at 587-88 (finding

 reliance upon mere allegations, conjecture, or implausible inferences to be

 insufficient to survive summary judgment).

        Here, the parties have filed cross-motions for summary judgment. Each

 party, as a movant for summary judgment, bears the burden of establishing that

 no genuine issue of material fact exists and that he or she is entitled to judgment

 as a matter of law. The fact that one party fails to satisfy that burden does not

 automatically indicate that the opposing party or parties has satisfied the burden

 and should be granted summary judgment on the other motion. In reviewing

 cross-motions for summary judgment, courts should "evaluate each motion on its

 own merits and view all facts and inferences in the light most favorable to the

 non-moving party." Wiley v. United States, 20 F.3d 222, 224 (6th Cir. 1994).

 "The filing of cross-motions for summary judgment does not necessarily mean

 that the parties consent to resolution of the case on the existing record or that the

 district court is free to treat the case as if it was submitted for final resolution on a

 stipulated record." Taft Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir.

 1991) (quoting John v. State of La. (Bd. of Trs. for State Coils. & Univs. ), 757

 F.2d 698, 705 (5th Cir. 1985)). The standard of review for cross-motions for

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  summary judgment does not differ from the standard applied when a motion is

 filed by one party to the litigation. Taff Broad., 929 F.2d at 248.

                                    Ill.   ANALYSIS

         Plaintiffs move for summary judgment and argue that Defendants' Policy

 violates their constitutional rights under 42 U.S.C. § 1983. Mot., ECF No. 69.

 Defendants likewise move for summary judgment contending that Ohio's

 statutory scheme is constitutional. Mot., ECF No. 71. The Court will analyze

 Plaintiffs' substantive due process right-to-privacy claim and equal protection

 claim before deciding the level of scrutiny to apply.

    A.   As~Applied   vs. Facial Challenge

         As an initial matter, the Court must whether Plaintiffs' lawsuit is best

 classified as an as-applied or facial challenge. See Op. and Order 9-13, ECF

 No. 47.

         Defendants characterize Plaintiffs' challenge as a facial challenge to

 Ohio's statutory scheme governing vital statistics. See Ohio Rev. Code

 § 3705.01 et seq. Plaintiffs, in turn, argue that they bring both as-applied and

 facial challenges. In other words, because the statute itself is silent as to

 whether a transgender person can change the sex marker on their birth

 certificate, Plaintiffs contend they challenge the statute only as it is applied to

 them, but because Defendants' Policy explicitly denies changing the sex marker

 for transgender persons, they challenge the Policy itself (i.e., Defendants'

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  interpretation of the silent statute as it relates to all transgender people) as

  facially unconstitutional.

         Facial challenges, at their core, contend that every use and application of a

  statute is unconstitutional as it is written . See Reno v. Flores, 507 U.S. 292, 301

  (1993) ("To prevail in such a facial challenge, [plaintiffs] must establish that no

  set of circumstances exists under which the [statute] would be valid." (internal

 citations, quotation marks, and alterations omitted)). Because Plaintiffs do not

 challenge each and every application of Ohio's vital statistics statutory scheme,

 but do challenge each and every application of Defendants' Policy, the Court

 agrees that Plaintiffs bring either an as-applied challenge to the statute or a facial

 challenge to Defendants' Policy. C.f. Winston v. City of Syracuse, 887 F.3d 553,

 559 (2d Cir. 2018) ("A facial challenge is an attack on a statute [or policy] itself as

 opposed to a particular application." (emphasis added) (internal citations

 omitted)). Indeed, because the Policy represents Defendants' interpretation of

 the statute in a particular context-which results in the statute being consistently

 applied the same way in that context-the challenges are two sides to the same

 coin.




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     B. Substantive Due Process Right to Privacy

           1. Review of this Court's Opinion and Order on Defendants'
              Motion to Dismiss

       This Court previously found that forced disclosure of an individual's

 transgender status could subject them to risk of bodily harm under Kallstrom v.

 City of Columbus, 136 F.3d 1055 (6th Cir. 1998). Specifically, that:

       "[W]here the release of private information places an individual at
       substantial risk of serious bodily harm, possibly even death, from a
       perceived likely threat, the 'magnitude of the liberty deprivation . . .
       strips the very essence of person hood.'" Kallstrom, 136 F.3d at 1064
       (emphasis added) (quoting Doe v. Claiborne, 103 F.3d 495, 506-07
       (6th Cir. 1996)).

 Op. and Order 19, ECF No. 47.

       Likewise, this Court found under Bloch v. Ribar, 156 F.3d 673 (6th Cir.

 1998), that Defendants' Policy required Plaintiffs to disclose highly personal and

 private information that is entitled to remain confidential. As explained

 previously, Bloch found that:

       [S]uch disclosure [of highly personal and private information] violated
       the plaintiff's right to privacy because "sexuality and choices about
       sex, in turn, are interests of an intimate nature which define significant
       portions of our personhood. Publicly revealing information regarding
       these interests exposes an aspect of our lives that we regard as highly
       personal and private." Id. at 685.

 Op. and Order 21, ECF No. 47.

       This Court went on to agree with the United States Court of Appeals for the

 Second Circuit's decision that found forced disclosure of a transgender

 individual's status as transgender was highly personal sexual information that
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 was protected by the due process clause's informational right to privacy. See id.;

 id. at 23 ("the Court agrees with the Second Circuit that "[t]he excru[c]iatingly

 private and intimate nature of [being transgender], for persons who wish to

 preserve privacy in the matter, is really beyond debate" {internal citations

 omitted)).

       Thus, this Court concluded that:

       [U]nder both Kallstrom and Bloch, Plaintiffs have adequately alleged
       that Defendants' Policy of refusing to change birth certificates to
       reflect gender identity implicates a release of personal information that
       is of a "sexual, personal, and humiliating nature" and "could lead to
       bodily harm," resulting in a violation of Plaintiffs' informational right to
       privacy.

 Op. and Order 19, 23-24, ECF No. 4 7 (footnote and internal citations omitted).

       This Court further found that Defendants' Policy justifications had to

 survive strict scrutiny to survive the substantive due process challenge, and

 Defendants had failed to provide compelling state interests for the Policy that

 were narrowly tailored in their motion to dismiss. Id. at 29-32.

       Although Defendants attempt to re-argue the legal determinations

 previously made by this Court, the Court will not revisit its legal analysis

 highlighted above and discussed in greater detail in its previous Opinion and

 Order, ECF No. 47. Instead, on summary judgment the Court will analyze only

 whether Plaintiffs have provided sufficient evidence that Defendants' Policy

 infringes on their informational right to privacy and weigh that evidence against


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  any evidence proffered by Defendants to support a compelling state interest that

  is narrowly tailored.

            2. Plaintiffs' Evidence

        On summary judgment. Plaintiffs have presented evidence that

  Defendants' Policy has compromised their safety, reveals their intimate personal

  information, and could lead to future bodily hann if continued to be enforoed.

  Pis.' Mot. Summ. J. 6-9, ECF No. 69.

        Ray's forced disclosure caused her to both experience threats and have

  her intimate personal information revealed. Ray testified that when she started a

  new job, she had to show her birth certificate to a human resources {"HR")

  professional in a room with ten to fifteen new colleagues. Ray Dep. 119-20,

  ECF No. 67. HR then questioned her, loudly enough for everyone to hear, as to

  why the gender on her birth certificate and driver's license did not match. Id. at

  112-13. Ray's co-workers harassed her as a result of this forced disclosure-

  they called her a ''freak," and one co-worker threatened to "beat (her) ass" if she

  used a woman's restroom. Id. at 114.

        Similarly, Breda had to show her birth certificate to an employer and was

 verbally harassed as a result of the forced disclosure of her intimately personal

 information. HR told her that she would "never be a woman" and that she would

 "always be a man in God's eyes." Breda Dep. 50, ECF No. 65. HR also

 disclosed that Breda was transgender to other employees and word quickly

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  spread from there. Id. at 53. After the forced disclosure to the loose-lipped HR

  person, Breda's supervisors misgendered her, made comments about her

  genitalia, and avoided working directly with her. Id. at 53-55.

         Argento testified about the psychological toll of the forced disclosure of

  very private information. He explained that "it's a lot of times dehumanizing

  because I'm telling something very personal about myself that I don't want to be

  telling a stranger." Argento Dep. 125-26, ECF No. 64.

         Doe faced public humiliation and scrutiny because of her forced disclosure.

  For example, she was publicly humiliated at the Social Security Administration

  when attempting to correct her sex with that agency. Doe Dep. 123-24, ECF No.

  66. The Clerk loudly, and in front of many people, refused to permit her to

  change the sex, despite Doe showing the Clerk a copy of the Social Security

  Policy permitting her to do so. Id. at 124. Doe described that experience at the

  Social Security office as "awful" and that she Uran out of that place in tears" and

  "sat in the parking lot in [her] car for about forty-five minutes crying." Id. at 125.

        Plaintiffs' expert also testified about how being forced to disclose

  documents with the wrong sex listed leads some transgender individuals to not

  pursue jobs, services, or opportunities because they are fearful of pushback and

  humiliation. Gordon Dep. 207-08, ECF No. 58 ("when people have non-

  matching documents, that can expose them to extra scrutiny").



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         Finally, it is not just Plaintiffs' own experiences that have caused them to

  fear disclosing their status but also a broader reality that, unfortunately, many

  transgender individuals do face a heightened risk of "discrimination, harassment,

  and violence because of their gender identity." See e.g., Whitaker by Whitaker v.

  Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1051 (7th Cir.

  2017); M.A.B.    v. Bd. of Educ. of Talbot Cty., 286 F. Supp. 3d       704, 720 (D. Md.

  2018) (noting that transgender people suffer "very high rates of violence" due to

  their status). 5 A 2015 survey revealed that 36% of transgender people in Ohio

  who showed identification that did not match their sex presentation were

  harassed, denied benefits or services, asked to leave a place, or assaulted. See

  National Center for Transgender Equality, 2015 U.S. Transgender Survey: Ohio

  State Report 3 (2017), https://bit.ly/2QyKNHF.6 Plaintiffs' expert testified to this

  very real and heightened risk of harm as well. See Ettner Dep. 228-29, ECF No.

  56 (giving an example of how a forced disclosure of a mismatched birth

  certificate at a workplace led to a couple having feces spread on their desk,

  petitions circulated against one of them to prohibit use of the female restroom at

  work, their brake lines cut, and death threats made against them).




  5 The Court notes that it incorrectly cited a statistic from this case in its previous Opinion
  and Order, but that the overarching point is the same-transgender people experience
  high rates of violence because of their transgender status.
  6 The complete 2015 U.S. Transgender Survey is available at
  https://transequality.org/sites/default/files/docs/usts/USTS-Full-Report-Dec1 7. pdf.
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         In sum, Plaintiffs each testified that they have experienced threats of harm

  or have been humiliated and harassed when their highly personal transgender

  status was forcibly disclosed. And as this Court's previous Opinion and Order

  held, either a risk of bodily harm or forced revelation of highly personal

  information is sufficient evidence to implicate their substantive due process rights

  under Kallstrom and Bloch.

         Defendants' arguments in response are unavailing. First, Defendants

  argue that Plaintiffs have not introduced evidence showing they have been

  harmed after forced disclosure of their birth certificates or that they were

  sufficiently fearful of harm. See Defs.' Mot. Summ. J. 9-14, ECF No. 71. Let the

  Court reiterate, requiring Plaintiffs to actually be harmed before having a

  cognizable claim would not only be legally incorrect, it would be an untenable

  proposition. See Op. and Order 19, ECF No. 47 ("Kallstrom does not require

  courts to wait until plaintiffs are actually assaulted, or worse, to recognize "a very

  real threat to [transgender individuals'] personal security and bodily integrity"

  upon disclosure of their status. See Kallstrom, 136 F.3d at 1063."). Moreover,

  the inquiry is not limited solely to whether past forced disclosure subjected

  Plaintiffs to a risk of bodily injury, it is also whether continued forced disclosure is

  likely to put them at risk of bodily harm in the future as well. Plaintiffs and their

  experts testified to that heightened risk of harm transgender people face when

  forced to disclose. See Ray Dep. 115, 119-20, ECF No. 67; Argento Dep. 125-

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  26, ECF No. 64; Breda Dep. 118-20, ECF No. 65; Doe Dep. 124-25, ECF No.

  66; see also Ettner Dep. 151, 189-92, 205-206, ECF No. 56; Ettner Rep. 43-45,

  ECF No. 69-6; Gorton Dep. 206-07, ECF No. 58.

         Second, Defendants argue that because Plaintiffs are proud of and have

  disclosed their transgender status to some people that Plaintiffs are therefore not

  humiliated by the forced disclosure of their birth certificates or that their

  information has no right to remain private.7 This argument likewise fails. The

  fact that Plaintiffs are proud of their transgender status and have shared such

  information on their personal social media accounts or with friends and family in

  no way negates their right to not be forced to disclose such private and personal

  information except on their own terms and in environments they chose. As

  Argento testified, even if he was not fearful of bodily harm from government

  officials at the Department of Motor Vehicles when he was forced to disclose his

  birth certificate, there is still "a lot of anxiety about how [he'll] be treated .. . it's a

  lot of times dehumanizing." Argento Dep. 126:2-15, ECF No. 64. Plaintiffs do

  not lose their informational right to privacy by choosing to share the private

  information at certain times with certain people.

         Accordingly, the Court finds that Plaintiffs have submitted sufficient

 evidence to demonstrate that they have a substantive due process right to


 7Defendants also resurrect their argument that a birth certificate is a public record in
 Ohio, and, thus, there is no privacy being violated. This Court has already dispelled
 with this argument and will not revisit it again. See Op. and Order 24-26, ECF No. 47.
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  informational privacy that protects against the forced disclosure of the unchanged

  sex marker on their birth certificates. See Op. and Order 23-24, ECF No. 47.

            The Court will proceed to discuss Plaintiffs' equal protection claim before

  discussing Defendants' justifications because their justifications are the same for

  both claims.

      C. Equal Protection

            The Court did not address Plaintiffs' equal protection claim in its Opinion

  and Order on Defendants' motion to dismiss. However, the Court will address

  this claim on summary judgment as an alternative basis on which Plaintiffs' seek

  relief.

            Plaintiffs argue that Defendants' Policy discriminates against Plaintiffs in

  violation of the equal protection clause of the Fourteenth Amendment by

  categorically denying transgender individuals the opportunity to have a birth

  certificate that reflects how they present to society but allowing others the same

  right. Pis.' Mot. Summ. J. 10, ECF No. 69. Plaintiffs also argue Defendants'

  Policy discriminates against transgendered people in that it allows other historical

  information-such as birth name or parents-to be changed but prohibits

 transgender individuals the ability to change the sex marker on their birth

  certificates. See Ohio Rev. Code§§ 3705.12, 3705.13.

            The equal protection clause of the Fourteenth Amendment provides that

 "[n]o State shall .. deny to any person within its jurisdiction the equal protection

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  of the laws." U.S. Const. amend. XIV, § 1. This protection extends to protection

  against "intentional and arbitrary discrimination" by the State. See Viii. of

  Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (per curium). Put differently,

  "state action is unconstitutional when it creates 'arbitrary or irrational' distinctions

  between classes of people out of 'a bare . .. desire to harm a politically

  unpopular group.'" Grimm v. Gloucester Cty. Sch. Bd., 972 F.3d 586, 607 (4th

  Cir. 2020) (internal citations omitted).

         To prevail on their equal protection challenge, Plaintiffs must show that

  they were treated differently than other similarly situated individuals. F. V.        v.
  Baffon, 286 F. Supp. 3d 1131, 1140 (D. Idaho 2018). Then, the Court must

  examine which level of scrutiny applies to review Defendants' justifications before

  examining the same. See Evancho v. Pine-Richland Sch. Dist., 237 F. Supp. 3d

  267, 285 (W.D. Pa. 2017) ("Where the state by its conduct intentionally treats

  one person differently from another, or one group of people differently from

  another group, when they are similarly-situated in all other material respects, the

  governmental classification must be justified by a standard related to its nature.").

         Here, Defendants' Policy treats Plaintiffs differently than people who have

  changed their birth parents or name. Assuming for the sake of argument,8 that


  8 The parties and their experts dispute whether sex and gender identity are the same
  thing or distinct categories. The Court need not decide this issue, however, because
  even assuming solely for the sake of argument that Defendants' position is right and the
  sex marker on a birth certificate identifies only biological sex at the time of birth, distinct
  from gender identity, and thus is "accurately recorded at birth" under the statute, Ohio
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  Plaintiffs' sex was correctly recorded at the time of birth, Plaintiffs are similarly

  situated to people who are allowed to change their accurately recorded birth

  parents or name in that those people, like Plaintiffs, had information accurately

  recorded at the time of their birth and have a court order with respect to the

  information they are trying to change. For example, adoptive parents can amend

  an adopted child's birth certificate to reflect the adopted parents' names, and

  individuals who have legally changed their names can have a birth certificate

  modified to reflect that change, but Plaintiffs are not afforded the same ability to

  change their birth certificates to align with their gender identities. See Barron,

  286 F. Supp. 3d at 1141 (finding that Idaho's similar laws and policies violated

  the equal protection clause when it "g[a]ve certain people [such as adopted

  people] access to birth certificates that accurately reflect who they are, while

  denying transgender people, as a class, access to birth certificates that

  accurately reflect their gender identity"). Thus, the Court finds that Defendants'

  Policy treats transgendered people differently than similarly situated Ohioans.

     D. Levels of Scrutiny

        The question for both the substantive due process and equal protection

  claims, now, is whether Defendants' justifications for the invasion of Plaintiffs'

  privacy interest and differential treatment between Plaintiffs and other persons



  allows changes to other birth certificate information that was "accurately recorded at
  birth."
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  seeking to change birth certificate information, respectively, satisfies the

  applicable level of constitutional scrutiny.

         There are three categories of scrutiny that apply to constitutional

  challenges of state law. The lowest level of scrutiny is rational basis review.

  That requires "[a]t a minimum, a statutory classification [to] be rationally related

  to a legitimate government purpose." Clark v. Jeter, 486 U.S. 456, 461 (1988).

  In the middle is intermediate scrutiny, which generally has been applied to

  discriminatory classifications based on sex, and requires that the government's

  challenged action be "substantially related to an important government objective."

  Id. Last, at the other end of the spectrum is strict scrutiny. If the state action

  targets a race, national origin, or affects a fundamental right, it is subject to strict

  scrutiny and cannot be upheld absent a showing by the State that the law is

  narrowly tailored to further a compelling interest. United States v. Brandon, 158

  F.3d 947, 959--60 (6th Cir. 1998).

            1. Level of Scrutiny for the Informational Right to Privacy Claim

        As this Court has already found in its previous Opinion and Order, because

  Defendants' Policy infringes on Plaintiffs' fundamental right to privacy, it is

  subject to strict scrutiny. See Op. and Order 29, ECF No. 47; Kallstrom, 136

  F.3d at 1064. Under this standard, it is Defendants' burden to demonstrate their

  Policy is narrowly tailored to achieve   a compelling government interest and that


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  they have attempted to use less intrusive alternatives to achieve those interests.

  Johnson v. California, 543 U.S. 499, 505 {2005).

           2. Level of Scrutiny for the Equal Protection Claim

        The level of scrutiny applicable to Plaintiffs' equal protection claim,

  however, is not as straightforward. Plaintiffs argue that this Court should find that

  heightened, intermediate scrutiny applies because Defendants' Policy targets a

  class that has historically been subjected to discrimination. Defendants disagree.

  There is no binding precedent from the United States Supreme Court9 or the

  Sixth Circuit regarding whether transgender people are a quasi-suspect class.

        The Supreme Court applies the following four factors to determine whether

  a new classification warrants heightened scrutiny:

         (1) whether the class has been historically "subjected to
        discrimination," Lyng v. Castillo, 477 U.S. 635, 638, 106 S. Ct. 2727,
        91 L. Ed. 2d 527 ( 1986); (2) whether the class has a defining
        characteristic that "frequently bears no relation to ability to perform or
        contribute to society," City of Cleburne v. Cleburne Living Ctr., 473
        U.S. 432, 440-41, 105 S. Ct. 3249, 87 L. Ed. 2d 313 {1985);
        (3) whether the class exhibits "obvious, immutable, or distinguishing
        characteristics that define them as a discrete group," Lyng, 477 U.S.
        at 638; and ( 4) whether the class is "a minority or politically
        powerless," id.

  Bd. of Educ., 208 F. Supp. 3d at 873.




 9Although in a different context, the Supreme Court recently found that discrimination
 against transgender individuals was discrimination on the basis of sex in violation of
 Title VII of the Civil Rights Act of 1964. See Bostock v. Clayton Cty., 140 S. Ct. 1731,
 1743, 1754 (2020).
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         Upon review, the Court finds that transgender individuals are a quasi-

  suspect class entitled to heightened scrutiny. First, as a colleague within this

  district recently noted, "there is not much doubt that transgender people have

  historically been subject to discrimination including in education, employment,

  housing, and access to healthcare." Bd. of Educ., 208 F. Supp. 3d at 874; see

  also Flack v. Wis. Dep't of Health SeNs., 328 F. Supp. 3d 931, 951-53 (W.D.

  Wis. 2018) (discussing the same history of discrimination and harassment

  transgender people face); Grimm, 972 F.3d at 611-12 (citing statistics that

  "transgender people frequently experience harassment in places such as schools

  (78% ), medical settings (2% ), and retail stores (37% )" and are "more likely to be

  the victim of violent crimes" such that in 2009 Congress extended the definition of

  hate crimes to include crimes based on gender identity (internal citations

  omitted)).

        Second, transgender people are no less capable of contributing value to

  society than other people. See M.A.B., 286 F. Supp. 3d at 720 {"The Court is not

  aware of any argument suggesting that a transgender person . . . is any less

  productive than any other member of society."); Adkins v. City of New York, 143

  F. Supp. 3d 134, 139 (S.D.N.Y. 2015) (finding the same).

        Third, transgender people have common, immutable characteristics that

  "define them as a discrete group," see Bd. of Educ., 208 F. Supp. 3d at 874,



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  primarily in that "their gender identity does not align with the gender they were

  assigned at birth." M.A.B., 286 F. Supp. 3d at 721 .

        Fourth, transgender people constitute a minority lacking in political power.

  As the Grimm court noted, "approximately 0.6% of the adult population in the
                                       11
  United States" are transgender and transgender persons are underrepresented

  in every branch of government." Grimm, 972 F.3d at 613. The Court finds that

  all four factors support finding that transgender people are entitled to heightened

  protection under the Equal Protection Clause as a quasi-suspect class.

        This Court is not alone in concluding that transgender people are part of a

  quasi-suspect class subject to intermediate scrutiny review under the equal

  protection clause. See Bd. of Educ., 208 F. Supp. 3d at 872 (finding that

  "transgender individuals are a quasi-suspect class because discrimination

  against them is discrimination on the basis of sex"; and that "[t]he nature of

  [transgender] discrimination is the same; it may differ in degree but not in kind,

  and discrimination on that basis is a form of sex-based discrimination that is

  subject to heightened scrutiny under the Equal Protection Clause"); M.A.B., 286

  F. Supp. 3d at 721 ("classifications based on transgender status are per se

  entitled to heightened scrutiny because transgender status itself is at least a

  quasi-suspect class"); Flack, 328 F. Supp. 3d at 953 (discussing the challenges

  transgender people face and noting that "other than certain races, one would be

  hard-pressed to identify a class of people more discriminated against historically

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  or otherwise more deserving of the application of heightened scrutiny when

  singled out for adverse treatment, than transgendered people"}; Grimm v.

  Gloucester Cty. Sch. Bd., 302 F. Supp. 3d 730, 746-50 (E.D. Va. 2018)

  ("classifications based on transgender status are per se entitled to heightened

  scrutiny"), aff'd 972 F.3d 586 (4th Cir. 2020); Barron, 286 F. Supp. 3d at 1145

  (same); Evancho v. Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D.

  Pa. 2017) (same}; Norsworthyv. Beard, 87 F. Supp. 3d 1104, 1119-21 (N.D.

  Cal. 2015) (same); Adkins v. City of New York, 143 F. Supp. 3d 134, 139-40

  (S.D.N.Y. 2015) (same}; see also Love v. Beshear, 989 F. Supp. 2d 536, 545

  (W.D. Ky. 2014) (rejecting the argument that sexual orientation discrimination is

  not entitled to heightened scrutiny because the Sixth Circuit caselaw relied upon

  used a line of cases overruled by the United States Supreme Court in Lawrence

  v. Texas, 539 U.S. 558 (2003}}.

        In arguing the contrary, Defendants state only that the Supreme Court and

  the Sixth Circuit have not found transgender people to constitute a quasi-suspect

  class and that the other out-of-circuit courts to have so found are not binding on

 this Court. See Defs.' Mot. Summ. J. 2-32, ECF No. 71. But the lack of binding

  precedent does not require this Court to only apply rational basis review, nor

 does it prevent this Court from relying on well-reasoned opinions of non-binding

 courts to inform its opinion here.



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         Accordingly, the Court finds that intermediate scrutiny applies. Having

  concluded as such, it is Defendants' burden under intermediate scrutiny to

  demonstrate that their Policy "serves 'important governmental objectives and that

  the discriminatory means employ[ed]' are 'substantially related to the

  achievement of those objectives."' United States v. Virginia, 518 U.S. 515, 533

  (1996). Moreover, those justifications must be genuine, not hypothesized or

  invented post hoc in response to litigation." Id.

     E. Defendants' Justifications

        The Court examines Defendants' justifications under strict scrutiny for the

  due process violation and intermediate scrutiny as it pertains to the equal

  protection violation.

        Defendants first contend that "the accuracy of Ohio's birth certificate

  records is a substantial interest of the State." Resp. 19, ECF No. 73. They

  argue that Ohio's birth records confirm not only a person's birth but are also used

  to verify that person's death, and thus, the accuracy of the records are important.

  Defs.' Mot. Summ. J. 30-31, ECF No. 71; see also Ohio Rev. Code§ 3705.27

  The Court does not disagree that accurate records are important, but it would

  find this argument more persuasive if Defendants could explain why permitting

  someone who is adopted to change the names of their parents on their birth

  certificate to reflect people other than the individuals identified on the document



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  at birth does not affect the historical accuracy of the document and vital statistics,

  but changing a sex marker does.

          Moreover, the idea that the State of Ohio has a true interest in maintaining

  historically accurate records is undermined by the fact that Ohio permitted

  transgender people to change the sex marker on their birth certificates until 2016.

  Defendants have offered no evidence to explain why "historical accuracy" has

  only recently become a State interest, or why it was necessary to change its

  Policy to further that interest. Given this, Defendants have failed to show that

  their Policy is substantially related to vital statistic preservation and certainly

  failed to show the Policy is the least restrictive means of achieving that purported

  goal.

          Next, Defendants invoke fraud prevention as a justification for their Policy.

  They argue it is "well-known" that criminals routinely use Ohio birth certificates to

  perpetuate fraud," and "Defendants are in constant contact with other agencies to

  verify the accuracy of a birth record as part of a criminal investigation." Resp. 19,

  ECF No. 73. But the fact that criminals currently perpetuate fraud using birth

  certificates generally does not require the Court to therefore conclude that

  allowing transgender individuals to change their sex marker will lead to more

  fraud any more than allowing a person's legally changed name to be put on the

  birth certificate would. See Nagy Aff., ECF No. 71-1 (describing generally how

  fraud is perpetrated in Ohio using birth certificates). What Defendants fail to

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  connect is how criminals will use the change of a sex marker on a birth certificate

  to perpetuate fraud and why this change will result in fraud, let alone how this

  change will prevent Defendants from verifying the accuracy of birth records as

  part of a criminal investigation. Likewise, Defendants have not provided the

  Court with any evidence that the 2016 Policy about-face was made because

  there was an increase in fraudulent uses of birth certificates corresponding to

  someone's change of their sex marker.

          Again, the Court does not doubt that fraud prevention is an important or

  even compelling government interest. but Defendants have failed to justify how

  their Policy's total prohibition on changing sex markers furthers this goal in the

  least restrictive means10 possible, or even that this Policy is substantially related

  to this goal. Indeed, employing a similar process used prior to 2016 would seem

  to still achieve those goals. See Nagy Dep. 48-52, 62-65, 138-39, 150-52;

  ECF No. 55; Ex. A Defs: Resp. lnterrog. No. 3 and Supp'I Resp., ECF No. 69-2

  (describing a process which entailed a court order authorizing the correction, a

  nominal processing fee, and a completed OOH-provided form, then locking the




  10 For example, Nagy's affidavit describes a notation put on a birth certificate with a
  legal name change and explains that Ohio is able to record and track that information
  with a corresponding file reference number. Nagy Aff. W 21-26, ECF No. 71-1. But
  Defendants do not explain why a similar process is unavailable for tracking sex marker
  changes. Although the Court foresees a problem with an explicit "sex marker change"
  designation, including a file reference number on any changed birth certificate could
  perhaps be another narrowly tailored means of achieving the same goals.
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  transgender individual's birth certificate in a vault, no longer accessible to the

  public).

         Finally, Defendants' argument that a judicial ruling on this issue will

  undermine the accuracy of vital statistics or fraud prevention is a red herring.

  See Defs.' Mot. Summ. J . 31-32, ECF No. 71. Nothing in this Opinion prevents

  Defendants from creating and employing procedural systems and safeguards

  similar to the ones they have used previously to process sex marker changes,

  name changes, or adoptive parent changes. All this Court is finding is that a

  blanket prohibition against transgender people changing their sex marker is

  unconstitutional.

        At bottom, the Court finds that Defendants' proffered justifications are

  nothing more than thinly veiled post-hoc rationales to deflect from the

  discriminatory impact of the Policy. And post hoc rationales do not suffice under

  either strict or intermediate scrutiny.

        From the Court's estimation, however, Defendants' Policy justifications do

  not even survive rational basis review because there is no logical connection

  between the Policy and proffered justifications. Instead, the testimony shows

  that after Defendants received a request to change a sex marker on a birth

  certificate sometime in 2015, the request "went up the chain," and upon "re-

  review" of the law they decided to no longer permit sex marker changes when the

  reason was because the requester was transgender. Nagy Dep. 108-10, ECF

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  No. 55. This Policy resembles the sort of discrimination-based legislation struck

  down under the equal protection clause in Romer v. Evans as nothing more than

  a Policy "born of animosity toward the class of person affected" that has "no

  rational relation to a legitimate government purpose." 517 U.S. 620, 634 (1996).

  Indeed, when an almost identical policy (interpreting a similar neutral statute) in

  Idaho was challenged, the state defendants conceded that "no rational basis

  exist[ed] to support the categorical denial of requests to amend sex-assigned

  birth on the basis of correcting it to match one's gender identity." Barron, 286 F.

  Supp. 3d at 1141 (the district court agreed there was no rational basis for the

  policy but ultimately found that intermediate scrutiny applied to the transgender

  plaintiffs' equal protection claim). Although rational basis review is deferential, "it

  is not meant to be toothless." Schweiker v. Wilson, 450 U.S. 221, 234 (1981 ).

  "Equal protection of the laws is not achieved through indiscriminate imposition of

  inequalities." Romer, 517 U.S. at 633 (citations and quotations omitted).

  Defendants' Policy prohibits transgender people the ability to change the sex on

  their birth certificate in an arbitrary and unequal manner. Thus, although the

  Court finds that transgender people are a quasi-suspect class entitled to

  heightened scrutiny protections under the equal protection clause, even under

  rational basis review Defendants' Policy does not pass constitutional muster.




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                                 IV.    CONCLUSION 11

         For the foregoing reasons, the Court GRANTS Plaintiffs' motion for

  summary judgment, ECF No. 69, and DENIES Defendants' motion for summary

  judgment, ECF No. 70 {publicly available version at ECF No. 71 ). The Court

  finds Defendants' Policy to be unconstitutional and hereby PERMANENTLY

  ENJOINS Defendants from enforcing their Policy. The Clerk is DIRECTED to

  enter judgment in favor of Plaintiffs and TERMINATE this case.

        IT IS SO ORDERED.



                                           ICHAEL H.  ATSON, JUDGE
                                          UNITED STATES DISTRICT COURT




  11
    Having addressed Plaintiffs' claims under the Fourteenth Amendment in their favor,
  the Court declines to analyze their compelled speech claim under the First Amendment.
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